Case 2:24-cv-00887-JNP-CMR   Document 83-9   Filed 02/05/25   PageID.2182   Page
                                   1 of 2




                   EXHIBIT I
Case 2:24-cv-00887-JNP-CMR            Document 83-9        Filed 02/05/25      PageID.2183        Page
                                            2 of 2




 January 13, 2025


 Bridger Jensen
 Singularism
 1969 N State St.
 Provo, UT 84604


 Subject: Business License Not Required for Religious Organizations

 Dear Mr. Jensen,

 This letter is to confirm that, under Provo City Code sec. 6.01.130, churches or religious
 organizations are not required to obtain a business license to operate. This exemption is limited to
 activities directly associated with religious purposes. Application LCB202400923 for Singularism
 has been closed.

 If your organization engages in activities outside the scope of religious operations, such as running
 a commercial enterprise or selling goods, additional regulations may apply, and compliance will be
 required.

 If you have further questions regarding these requirements, contact our office at 801-852-6000 or
 licensing@provo.gov

 Sincerely,

 Provo 311 Customer Service
 Business Licensing
 801-852-6000
